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                           UNITED STATES DISTRICT COURT
7
                          CENTRAL DISTRICT OF CALIFORNIA
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10       AUSTBERTO M.,1                           Case No. CV 20-11144-KK
11                              Plaintiff,
12                        v.                      JUDGMENT
13       COMMISSIONER OF SOCIAL
         SECURITY ADMINISTRATION,
14
                                Defendant.
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17           Pursuant to sentence four of 42 U.S.C. § 405(g), IT IS ADJUDGED that the
18   decision of the Commissioner of the Social Security Administration is REVERSED,
19   and this action is REMANDED for further administrative proceedings.
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21       Dated: November 05, 2021
22                                            HONORABLE KENLY KIYA KATO
                                              United States Magistrate Judge
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27   1      Partially redacted in compliance with Federal Rule of Civil Procedure
28   5.2(c)(2)(B) and the recommendation of the Committee on Court Administration and
     Case Management of the Judicial Conference of the United States.
